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                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 UNITED STATES OF AMERICA,                          Case No. 19-cr-00100-VC-1
                Plaintiff,
                                                    ORDER RE MOTION TO SUPPRESS
         v.                                         HEARING
 RAMON COFIELD,
                Defendant.

       A Franks hearing is warranted on the question whether Sgt. Worthington recklessly or
intentionally created the impression that there was evidence of Cofield’s interest in child
pornography from beyond 2014. Tomorrow’s hearing is converted to a scheduling conference.

       IT IS SO ORDERED.

Dated: January 25, 2021
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
